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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________________
THE NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC.,                                       20-CV-00889 MAD TWD

                              Plaintiffs,
              v.

LETITIA JAMES, both individually and in
her official capacity,

                        Defendant.
_______________________________________________

   ATTORNEY GENERAL LETITIA JAMES’S REPLY MEMORANDUM OF LAW
          IN FURTHER SUPPORT OF HER MOTION TO DISMISS


                                                  LETITIA JAMES
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          LETITIA JAMES, Attorney General of the State of New York respectfully submits this

reply memorandum of law in further support of her motion, brought pursuant to Rules 12(b)(1)

and 12(b)(6) of the Federal Rules of Civil Procedure, to dismiss the Amended Complaint (Dkt.

No. 13) (the “Am. Compl.”), in its entirety, with prejudice.

                                  PRELIMINARY STATEMENT

          In her moving memorandum (Dkt. No. 20) (“AG Mem.”), the Attorney General established

that the NRA’s attempt, through this federal action, to shield itself from regulatory review of its

pervasive and persistent illegal conduct fails and its claims are subject to dismissal. In its

memorandum of law in opposition to the motion to dismiss (Dkt. No. 26) (“NRA Mem.”), the

NRA consistently misstates or misapprehends relevant law, blatantly mischaracterizes the

allegations in the State Enforcement Action, and fails to address the fatal weaknesses in its claims.

As set forth in the Attorney General’s moving papers and below, this action is subject to dismissal.

                                            ARGUMENT

    I.       THE NRA’S STATE CONSTITUTIONAL CLAIMS ARE BARRED BY THE
             ELEVENTH AMENDMENT AND NEW YORK STATE LAW.
          The NRA misapprehends Eleventh Amendment immunity, particularly as applied to

bringing state constitutional claims against the Attorney General. In response to the Attorney

General’s arguments, the NRA incorrectly argues that (1) the Eleventh Amendment does not bar

its claims for injunctive relief under the State constitution and (2) the constitutional tort cases cited

by the Attorney General are inapposite. NRA Mem. at 11-13, 18.

          First, the exception to the Eleventh Amendment for prospective injunctive relief in Ex parte

Young, 209 U.S. 123 (1908), does not apply to alleged violations of state law. Pennhurst State

School & Hosp. v. Halderman, 465 U.S. 89, 106 (1984). Therefore, the NRA’s claims for

injunctive or declaratory relief arising out of the New York State constitution are barred.


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          Second, the NRA has no damages remedy against the Attorney General in her individual

capacity for alleged violations of the New York State constitution because no such claim exists

where there is an adequate alternative remedy in § 1983. See Felmine v. City of New York, 2012

WL 1999863, at *6 (E.D.N.Y. June 4, 2012) (collecting cases). The NRA fails to demonstrate how

its associational rights or selective enforcement claims under state constitutional law differ from

their federal counterparts, and so admits that it fails to state a claim with respect to those claims.

          With respect to its freedom of speech retaliation claim, the NRA argues that, because the

state constitution affords more protection than the First Amendment, the NRA has a damages

remedy against the Attorney General in her official capacity. NRA Mem. at 11-12. But that

distinction only matters where the right alleged to be violated is one that exists under the New

York State constitution but is not protected by § 1983. 1 Here, the NRA has not alleged violations

of the New York State constitution’s protections for alleged speech retaliation that are broader

than those redressable by § 1983, and so has no claim for damages under the state constitution.

See Sullivan v. Metro. Transit Auth. Police Dept., 2017 WL 4326058, at *10 (S.D.N.Y. Sept. 13,

2017) (dismissing freedom of speech claim under New York State constitution because plaintiff’s

§ 1983 First Amendment retaliation cause of action provided an adequate alternative remedy).

    II.      ABSTENTION IS APPROPRIATE HERE.
                 A. The NRA’s attempts to avoid application of the Younger abstention
                    doctrine are unavailing.
          Where the criteria for Younger abstention are met, abstention is mandatory. Schlagler v.

Phillips, 166 F.3d 439 (2d Cir. 1999). Here, the NRA’s efforts to avoid Younger abstention are

transparent attempts to foreclose regulatory action and, as set forth below, are unavailing.



1
 In Alwan v. City of New York, 311 F.Supp.3d 570, 587 (E.D.N.Y. 2018), cited by the NRA, the
court declined to dismiss a state constitutional claim premised on a theory of respondeat superior
against the municipal defendant, because § 1983 does not permit such a theory for recovery. Id.
                                                   2
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       The NRA argues that there was not an ongoing state proceeding, a criteria for Younger

abstention, when it commenced this action. NRA Mem. at 8-9. As a matter of fact and of law, the

State Enforcement Action constitutes an ongoing proceeding here since it was commenced before

this action. But even if the NRA’s claim that an alleged error in the verification somehow means

the action was not commenced — and the law is clear that it is not, see AG Mem. at 14-16 2 —the

action would still be considered “ongoing” for the purposes of Younger abstention. 3 The NRA

fails to rebut the Attorney General’s authority on this point. AG Mem. at 15, at fn. 14.

       The NRA likewise cannot avoid Younger abstention with the unfounded blanket assertion

that the state courts are too biased or “parochial” to hear § 1983 claims. NRA Mem. at 6. The only

authorities that the NRA offers are a 1970 law review article that briefly mentions potential bias

in state courts and dicta in a concurrence in England v. Louisiana State Bd. of Med. Examiners,

375 U.S. 411, 428 (1964), which noted that federal judges, too, can be biased and ultimately

affirmed abstention. Moreover, the Supreme Court has rejected claims of state court bias for

Younger purposes, even where a state’s former chief justice and other judges themselves were

named as defendants in the state proceedings. Kugler v. Helfant, 421 U.S. 117, 124-126 (1975).


2
 The issue of which action was filed first is currently pending before the court in the State
Enforcement Action. See People v. National Rifle Association, Sup. Ct. N.Y. Co. Index No.
451625/2020 (Dkt. Nos 70-193, generally). In any event, the law is clear that an alleged error in a
verification, at issue here, does not render the action a nullity. See Ruffin v. Lion Corp., 15 N.Y.3d
578, 582 (2010); Cont'l Ins. Co. v. Polaris Indus. Partners, L.P., 199 A.D.2d 222, 223 (1st Dep’t
1993); Application of Smith, 2 A.D.2d 67, 69 (1st Dep’t 1956); SLG Graybar LLC v. John
Hannaway Law Off., 182 Misc.2d 217, 221-22 (Civ Ct., N.Y. Co. 1999); City of New York v.
Brown, 465 N.Y.S.2d 388, 389 (Civ. Ct. 1982); Williams v. State, 77 Misc.2d 396, 399 (N.Y. Ct.
Claims 1974).
3
  See AG Mem. at 15; In re Standard & Poor's Rating Agency Litig., 23 F. Supp.3d 378, 409
(S.D.N.Y. 2014) (federal court was required to abstain under Younger, even though the federal
action was, through procedural gamesmanship, filed prior to state enforcement action);
MyInfoGuard, LLC v. Sorrell, 2012 WL 5469913, at *8 (D. Vt. Nov. 9, 2012) (“Younger abstention
only requires that the state action be initiated ‘before any proceedings of substance on the merits
have taken place in federal court.’”) (quoting Hicks v. Miranda, 422 U.S. 332, 349 (1975)).
                                                  3
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       Notably, the NRA makes no specific factual allegations of bias or parochialism in New

York County Supreme Court in its Amended Complaint or its motion papers. Indeed, it would

have trouble doing so as the NRA itself sought to have the State Enforcement Action heard in the

Commercial Division of the Supreme Court, stating “[t]his is precisely the type of complex

commercial dispute that belongs in the Commercial Division.” See State Enforcement Action Dkt

No. 26 (September 16, 2020 NRA letter requesting assignment to Commercial Division).

       Further, under the NRA’s theory, state courts would never be appropriate venues for § 1983

claims. This assertion is patently untrue and is contrary to countless decisions finding that state

courts are fully capable of adjudicating federal constitutional claims. See, e.g., Steffel v. Thompson,

415 U.S. 452, 460 (1974); Temple of Lost Sheep Inc. v. Abrams, 930 F.2d 178, 183 (2d Cir. 1991).

       Finally, the NRA incorrectly asserts that this case falls under the narrow “bad faith” or

“exceptional circumstances” exceptions to Younger. NRA Mem. at 7. What the NRA fails to

address is that “‘bad faith’ in this context generally means that a prosecution has been brought

without a reasonable expectation of obtaining a valid conviction.” Kugler, 421 U.S. at 126; Perez

v. Ledesma, 401 U.S. 82, 85 (1971) (holding that to fall under the bad faith exception, state

proceeding would have had to be commenced “without hope of obtaining a valid conviction.”). 4

       The NRA relies on Schlagler v. Phillips, 166 F.3d at 443, but there, the Second Circuit

reversed a district court’s refusal to abstain, clarifying that Younger “narrowly limited exceptions

[to abstention] to cases involving retaliatory or bad-faith efforts to regulate speech,” and refused


4
  Abstention by this Court does not, as the NRA implies, rob it of the ability to assert constitutional
claims. See NRA Mem. at 2. “‘State courts are quite as capable as federal courts of determining
the facts, and they alone can define and interpret state law…[S]tate courts share with federal courts
an equivalent responsibility for the enforcement of federal rights, a responsibility one must expect
they will fulfill.’” Luongo v. Wenzel, 404 F. Supp. 874, 878 (E.D.N.Y. 1975) (abstaining under
Younger), quoting Schlesinger v. Councilman, 420 U.S. 738 (1975).


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to allow these exceptions to “swallow the Younger rule,” reiterating that they apply when “no valid

prosecution could be secured and no valid, good faith basis for the prosecution could exist.” Id.

       That is not and cannot be the case here, where the NRA does not challenge the legitimate

basis of the State Enforcement Action other than the Attorney General’s request for the remedy of

dissolution. This concession of the validity of the other claims and requests for relief, alone, should

end the inquiry. Moreover, given the thorough pre-complaint investigation, the NRA’s

acknowledged inaccurate regulatory filings, the whistleblower complaints, the public accounts of

dysfunction and corruption, and the evidence identified in the complaint, the State Enforcement

Action cannot reasonably be deemed a civil prosecution which has no good faith basis and no valid

hope for success. See AG Mem. at 4-6, 21; Am. Compl., Ex. 1 at ¶¶ 10, 220, 226, 263, 266, 279,

452-53, 472-73 484-497, 544-48. The NRA has not met its burden to satisfy the “bad faith”

exception to abstention under Younger.

       The NRA also argues that the “extraordinary circumstances” exception to Younger

abstention applies because it alleges a First Amendment injury. Using the NRA’s logic, Younger

abstention could never apply to a First Amendment claim, which of necessity must include a First

Amendment injury. Yet Younger itself was a First Amendment case and there, the Supreme Court

held that “the existence of a ‘chilling effect,’ even in the area of First Amendment rights, has never

been considered a sufficient basis, in and of itself, for prohibiting state action.” 401 U.S. at 51. In

fact, the Supreme Court in Younger held that a federal court should not interfere in an ongoing

state action unless “the threat to the plaintiff's federally protected rights [is] one that cannot be

eliminated by his defense against a single criminal prosecution.” Id. at 46. Here, as set forth below,

the NRA fails in its Amended Complaint to even allege an actionable First Amendment injury,

nevertheless one that cannot be addressed by defense against a single state proceeding. It has not



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shown the requisite “extraordinary circumstances” justifying federal intrusion into state

proceedings.

       Since the NRA has failed in its burden to establish one of the narrow exceptions to Younger,

abstention is appropriate. Kirschner v. Klemons, 225 F.3d 227, 237 (2d Cir. 2000).

               B. The NRA cannot overcome Burford abstention.
       The NRA’s opposition to the application of Burford abstention fails because it is premised

on the baseless contention that the federal court is better positioned than the Attorney General, in

the state court, to enforce New York’s Not-for-Profit Corporations Law (“N-PCL”); Estates,

Powers and Trusts Law; and Executive Law, all of which vest the Attorney General with expansive

authority to oversee not-for-profit entities. NRA Mem. at 9-10. The NRA’s theory turns the state-

based regulatory scheme, and accepted principles of federalism and comity, on their heads. 5

       The NRA does not make a serious effort to argue against Burford abstention. The analysis

set forth in the cases it cites, like Hachamovitch v. DeBuono, 159 F.3d 687, 697–98 (2d Cir. 1998),

favor abstention. Specifically, the state regulatory scheme here is complex, the Court’s failure to

abstain would require the federal court “to give one or another debatable construction” to state

statutes, and the regulation of charities is unquestionably traditionally a matter of state concern.

Should the Court refuse to abstain, it may risk engaging in precisely the type of “meddl[ing]” that

is prohibited by Burford, Id., i.e., determining “considerations, values and procedures that should


5
 In opposition to the Attorney General’s motion to dismiss, a group of Attorneys General filed an
amicus brief with this court. Dkt. No. 25. The Amici neither sought nor obtained permission to file
their brief. The Amici also have not set forth their particular interests in this matter. Since their
unauthorized brief largely duplicates arguments made by the NRA, it does not offer assistance to
the Court in resolving the issues presented. See Soos v. Cuomo, 470 F. Supp. 3d 268, 284
(N.D.N.Y. 2020). The brief does, however, underscore the importance of state regulation of
charitable organizations and the breadth of the State’s regulatory scheme, key factors in support
of abstention. Dkt. No. 25 at 3-4, 15.



                                                 6
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shape” the outcome under the State’s complex statutory scheme. Id. 6

    III.      THE NRA FAILS TO STATE A FIRST AMENDMENT CLAIM.
           The NRA’s rhetoric notwithstanding, the Attorney General’s investigation and the State

Enforcement Action are an appropriate and lawful exercise of her authority to oversee charitable

assets. 7 There is no constitutional violation where, as set forth above, the state law enforcement

agency charged with oversight of charities finds evidence of wrongdoing and brings suit seeking

a variety of remedies, all grounded in its authority and discretion, and all of which will be before

the state court for factual and legal resolution.

           The NRA does not dispute that a First Amendment retaliation claim requires that the

alleged improper motivation was the “but for” cause of the defendant’s actions. Nieves v. Bartlett,

139 S. Ct. 1715, 1722 (2019); see NRA Mem. at 13 (citing Mozzochi v. Borden, 959 F.2d 1174

(2d Cir. 1992) (rejecting plaintiff’s First Amendment claims where a bona fide reason for the state

action existed). The NRA cannot satisfy this requirement because the record is replete with

evidence of systemic illegality. The NRA may seek to minimize the wrongdoing as “looting by a




6
 The NRA’s remaining contentions fail. NRA Mem. at 10. Relying only on Markel v. Blum, 509
F. Supp. 942 (N.D.N.Y. 1981), it argues that federal questions predominate in the State
Enforcement Action. But there, the court was interpreting the federal Social Security Act and held
that “no truly independent state concern exists that would be disrupted by review in this action.”
Id. at 948. Based on Alliance of American Insurers v. Cuomo, 854 F.2d 591, 601 (2d Cir. 1988),
the NRA argues that Burford won’t apply when the state's regulations violate the constitution.
There, however, the court was ruling on the constitutionality of a statute as written; there were no
“factual determinations….at issue.” Id. Here, by contrast, the NRA asks this Court to intervene in
a state action that would require this Court to resolve complex questions of fact and law pertaining
to state oversight of charities. These cases support the application of Burford abstention.
7
  The Attorney General’s investigation ended prior to the commencement of this action. Any
injunctive or declaratory relief the NRA seeks with regard to the Attorney General’s investigation
(see, e.g., NRA Mem. at 12-13), is necessarily retroactive in nature and thus barred by the Eleventh
Amendment. Edelman v. Jordan, 415 U.S. 651, 676-77 (1974).



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handful of executives,” NRA Mem. at 13, but this characterization is belied by both the NRA’s

own official filings and the scope of the allegations set forth in the State Enforcement Action

complaint. 8 Most saliently, one of the executives accused of such “looting” is the NRA’s long-

time Executive Vice-President, ex-officio board member and chief executive officer Wayne

LaPierre, who remains in control of the NRA.

       The NRA’s most recent IRS Form 990 for 2019 admits numerous diversions of charitable

assets and governance failures. 9 Additionally, in its Amended Complaint, the NRA admits that its

internal investigation, undertaken in response to public reporting, resulted in findings of

wrongdoing. Am. Compl. ¶ 15. In light of the numerous legitimate reasons for the Attorney

General’s actions, the NRA’s First Amendment retaliation claim must fail.

       The NRA also fails to allege harm to its First Amendment rights as a result of the Attorney


8
   While the NRA is apparently accepting of “looting by a handful of officers,” the individuals
named as defendants therein were in top positions at the NRA, had substantial authority and control
over the organization’s operations, and, in the case of defendants LaPierre and Phillips, held those
positions for decades. Further, as noted elsewhere, defendants LaPierre and Frazer continue in
their positions. And, in any event, the State Enforcement Action asserts systemic, pervasive, long
running violations of the law by the NRA, including the NRA’s violation of numerous laws; lack
of oversight of expenditures; allowance of waste and misuse of charitable assets; long-running
self-dealing with board members without requisite disclosures and approvals; false filings;
improper setting and reporting of officer compensation; whistleblower retaliation; and suppression
of reform efforts. See, e.g., Am. Compl., Ex. 1 at ¶¶ 308, 365, 401, 408, 473, 487, 531.
9
 The NRA IRS Form 990 for 2019 admits, among other things, that two of the named defendants—
Powell and LaPierre—along with various other current and former employees– collectively
received more than $1 million in excess benefits in the form of improperly reimbursed travel and
other expenses. Connell Reply Aff., Ex.G, pp. 86-87. The NRA further admits that it did not have
or failed to implement policies regarding first class travel, housing allowances and other benefits,
and that an unspecified number of Board members “may have” violated the NRA’s travel policies.
Id. p. 87. These admissions in its Form 990, among others, undermine the NRA’s contention that
the Attorney General’s investigation and complaint are without merit. See Am. Compl, Ex. 1, ¶¶
140-215, 247-252, 498-517 (detailing improper expenditures and related party transactions).
Furthermore, these and other admissions in the 2019 Form 990 support the Attorney General’s
allegations that the NRA made false and misleading statements in prior filings. Id. ¶¶ 544-48.



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General’s actions. The Attorney General’s moving brief established that the two conclusory

paragraphs in the Amended Complaint alleging the “threat” of destabilization or chilling harm

were legally insufficient. AG Mem. at 22; Am. Compl. at ¶¶ 51-52. The NRA now pivots to a

theory of “reputational injury” as a result of one remedy sought in the Attorney General’s action

(NRA Mem. at 14, fn. 56). This theory, alleged only in the most conclusory manner in its Amended

Complaint, is also not adequate. See Zherka v. Amicone, 634 F.3d 642, 646 (2d Cir. 2011)

(allegations of defamation inadequate to establish injury for First Amendment retaliation claim).

       Nor has the NRA plausibly linked any reputational harm to the request for judicial

dissolution; any such harm is more likely a result of the publicity surrounding its financial and

governance misconduct, including the highly public dissent from within its ranks. 10 See Meese v.

Keene, 481 U.S. 465, 476 (1987) (alleged injury to reputation must be “fairly traceable to the

defendant’s allegedly unlawful conduct and likely to be redressed by the requested relief”)

(internal quotation marks omitted). The NRA did not establish the requisite link in its Amended

Complaint and cannot do so now by cursory argument in its motion papers. See O’Brien v. Nat’l

Prop. Analysts Partners, 719 F. Supp. 222, 229 (S.D.N.Y. 1989).

       Likewise, the NRA fails to plead any injury in the form of a chilling effect. And the NRA’s

own language, complaining of the potential “result of the dissolution action if she prevails…”



10
  See e.g. Fredreka Schouten, NRA board member criticizes Wayne LaPierre, urges group to
‘clean’ house, CNN (May 14, 2019, 8:42 PM), https://www.cnn.com/2019/05/14/politics/nra-
board-member-lapierre/index.html; Beth Reinhard, Katie Zezima, Tom Hamburger and Carol
Leonning, NRA money flowed to board members amid allegedly lavish spending by top officials
and       vendors,     WASHINGTON         POST      (June     9,     2019,    9:22     PM),
https://www.washingtonpost.com/investigations/nra-money-flowed-to-board-members-amid-
allegedly-lavish-spending-by-top-officials-and-vendors/2019/06/09/3eafe160-8186-11e9-9a67-
a687ca99fb3d_story.html; Sebastian Murdock, 4 NRA Board Members Resign in Latest Sign of
Dissent      in     Gun      Group,       HUFFINGTON       POST     (August     2,    2019),
https://www.huffpost.com/entry/national-rifle-association-
resignations_n_5d4452e7e4b0acb57fcb9ef9.
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(NRA Mem. at 14, emphasis added) highlights the speculative nature of its claim. The case cited

by the NRA in its opposition, Laird v. Tatum, 408 U.S. 1 (1972), does not help its argument. In

Laird, the Supreme Court rejected plaintiffs’ First Amendment claims as too speculative, and

reiterated the well-established principle that to adequately plead a First Amendment injury,

plaintiffs must “ha[ve] sustained or [are] immediately in danger of sustaining a direct injury as the

result of that action.” Id. at 13. No such immediate danger has been, nor can be, alleged here.

Dissolution depends on the outcome of the litigation in state court, where the NRA will have the

opportunity to defend against the merits of the Attorney General’s claims. See N-PCL §§ 1101,

1102 and 1109(b). Further, the inchoate and speculative theory that seeking dissolution “raises the

stakes and changes the calculus” of settlement and litigation—a theory not alleged in the Amended

Complaint—cannot establish the type of harm required for a First Amendment retaliation claim.

     IV.      THE NRA CANNOT SAVE ITS EQUAL PROTECTION CLAIM.
           The NRA’s Equal Protection claim is premised on the Attorney General asking the state

court to consider dissolution as a potential remedy. Like its First Amendment claim, this claim

fails because the NRA does not —and cannot— adequately plead that it has been treated differently

from similarly situated charitable organizations due to impermissible considerations. 11 It has not

rebutted the Attorney General’s showing that its Amended Complaint relies upon a

mischaracterization of the allegations in the State Enforcement Action and a misstatement of the




11
  Contrary to the NRA’s misreading of the Attorney General’s motion, the Attorney General does
not rely on a single case to prove that its actions are part of a “bona fide rational pattern of general
enforcement.” NRA Mem. at 2. Rather, she cites a range of matters in which the Attorney General
sought and obtained dissolution, among other remedies. See AG Mem. at 25-27. The NRA also
ignores salient differences in cases where the entity was not dissolved, including the procedural
posture of the matter, damages paid, admissions made, and fiduciary bans imposed.



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relevant legal standards for an Equal Protection claim. 12

       Courts require meaningful similarity between the plaintiff and comparators, a standard that

the NRA has failed to satisfy. See Kamholtz v. Yates Cnty., 2008 WL 5114964, at *5 (W.D.N.Y.

Dec. 3, 2008) (rejecting claims where plaintiff failed to show an “extremely high” level of

similarity at pleading stage) aff'd 350 F. App'x 589 (2d Cir. 2009); Dones v. City of New York,

2008 WL 2742108, at *7, 9 (S.D.N.Y. July 9, 2008) (applying “very high standard of similarity”

to claim of selective treatment); see also Mosdos Chofetz Chaim, Inc. v. Vill. of Wesley Hills, 701

F. Supp. 2d 568, 604 (S.D.N.Y. 2010) (dismissing equal protection claim because of inadequate

allegations that comparators were similarly situated.); see also Cutie v. Sheehan, 2014 WL

4794195, at *16 (N.D.N.Y. Sept. 25, 2014), aff'd, 645 F. App'x 93 (2d Cir. 2016) (the proponent

of selective enforcement claim must establish that it was treated differently from others who were

similarly situated in all material respects). The cases cited in the NRA’s Amended Complaint,

along with those added in its opposition, where the Attorney General did not seek dissolution, are

not similar for a variety of reasons; most notably, all involved settlements in which the charities

agreed to overhaul their leadership. Further, the NRA cannot compare itself to cases involving

isolated wrongdoing, because that is plainly not what the Attorney General alleges in the State

Enforcement Action. 13 See AG Mem. at 7, 9; Am. Compl., Ex. 1, ¶¶ 308, 401, 408, 473, 487, 531.


12
  In a seeming admission that it had misstated the legal standard for judicial dissolution, the NRA
has shifted gears from arguing that the Attorney General must prove that the organization is a
sham, to the assertion that the “sham language” appears in relevant caselaw and the Attorney
General once likened a charitable entity to a sham in a complaint which sought dissolution. NRA
Mem. at 15. The proper statutory standard for dissolution is articulated in the N-PCL and the
allegations of the complaint meet this standard, as a matter of pleading.
13
  The NRA’s repeated citation that two individual defendants in the State Enforcement Action
have left the NRA is also not meaningful. First, the State Enforcement Action alleges misconduct
involving many officers, directors, and employees, see e.g. Am. Compl., Ex. 1, ¶¶ 338-395, 498-
517. Second, the NRA ignores that the circumstances under which defendant Wilson Phillips left


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        Given the bona fide reasons for seeking dissolution, the NRA cannot make the requisite

showing that the request to seek such remedy—which is well within the Attorney General’s

authority—was motivated by animus. As such, the NRA has failed to meet its high burden to

overcome the presumption of regularity here.

   V.      THE NRA’S CHALLENGE TO THE CONSTITUTIONALITY OF THE N-
           PCL DISSOLUTION STATUTES IS NOT IMMUNE TO A MOTION TO
           DISMISS.
        The NRA tries to evade the Attorney General’s motion to dismiss its as-applied

constitutional challenge to the N-PCL dissolution statutes by incorrectly arguing that such claims

are immune to dismissal at this stage. NRA Mem. at 18-19. However, courts frequently dismiss

as-applied challenges for failure to state a claim based on the pleadings. See, e.g., Citizens United,

882 F.3d at 385 (affirming dismissal of as-applied challenge to charity regulation); see also Liu v.

New York City Campaign Fin. Bd., 2015 WL 1514904, at *9 (S.D.N.Y. March 31, 2015)

(dismissing as-applied challenge to campaign finance regulation); Dear v. Bd. of Elections in City

of New York, 2003 WL 22077679, at *13-16 (dismissing as-applied challenge to local election

law); City of Oneida, NY v. Salazar, 2009 WL 3055274, at *3-5 (N.D.N.Y. Sept. 21, 2009)

(dismissing as-applied challenge to Indian Reorganization Act).

        The one case the NRA cites in support of its argument actually militates in favor of

abstention here. In United States v. Raniere, the court held that the defendant’s motion to dismiss

a criminal indictment was premature, reasoning that the defendant “must wait to bring an as-

applied vagueness challenge until the facts have been established by evidence introduced at trial



are the basis for allegations of misconduct. Phillips was allowed to retire of his own accord, with
benefits, a pension and a lucrative “no show” consulting contract (¶¶ 231-237). Further, two of the
individual defendants are the current NRA chief executive officer and general counsel and
secretary to the Board. Their continued direction of the NRA undermines the organization’s
attempt to minimize the State Enforcement Action to allegations of isolated bad conduct by a
handful of individuals.
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and the fact-finder has had an opportunity to weigh in.” 384 F.Supp.3d 282, 320 (E.D.N.Y. 2019)

(internal quotation marks omitted). Here, the NRA must wait for the Attorney General to develop

its case in state court before alleging that the dissolution statutes are unconstitutional as applied.

   VI.      THE NRA HAS FAILED TO ESTABLISH ASSOCIATIONAL STANDING TO
            BRING A § 1983 CLAIM.
         In its opposition, the NRA fundamentally misunderstands the applicable associational

standing inquiry. The Second Circuit precedent is clear: the NRA does not have standing to assert

§ 1983 claims on behalf of its members. Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir. 2011); N.Y.

State Citizens’ Coal. for Children v. Velez, 629 F. App’x 92, 93 (2d Cir. 2015) (summary order).

         In arguing otherwise, the NRA misreads the law and relies upon cases where the traditional

test for associational standing is followed to allow an organization to assert the rights of its

members in relation to non-§ 1983 claims. NRA Mem. at 16-18; see, e.g., Bldg. & Const. Trades

Council of Buffalo, New York & Vicinity v. Downtown Dev., Inc., 448 F.3d 138 (2d Cir. 2006)

(action under the Resource Conservation and Recovery Act and Clean Water Act); Am. Psychiatric

Ass'n v. Anthem Health Plans, Inc., 821 F.3d 352 (2d Cir. 2016) (action under the Mental Health

Parity and Addiction Equity Act and Employee Retirement Income Security Act); Pen Am. Ctr.,

Inc. v. Trump, 448 F. Supp. 3d 309 (S.D.N.Y. 2020) (action against federal officers). As the NRA

has not set forth any legitimate basis for associational standing, such claims fail.

   VII.     THE ATTORNEY GENERAL IS ENTITLED TO BOTH ABSOLUTE AND
            QUALIFIED IMMUNITY.
                A. The Attorney General is entitled to absolute immunity for her actions in
                   commencing and prosecuting the State Enforcement Action.
         In its attempt to dispute the applicability of absolute immunity, the NRA mischaracterizes

both the nature of the conduct with respect to which the Attorney General is entitled to immunity

and the claims asserted in its own Amended Complaint. Contrary to the NRA’s contention, the

Attorney General does not claim absolute immunity over her decision to initiate an investigation

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or for conduct during that investigation. See NRA Mem. at 19. Instead, the Attorney General seeks

and is entitled to absolute immunity with respect to her decision to commence a state enforcement

proceeding against the NRA. See AG Mem. at 34; Hill v. City of New York, 45 F.3d 653, 661 (2d

Cir. 1995); Spear v. Town of West Hartford, 954 F.2d 63, 66 (1992). There is no factual question

barring application of absolute immunity here.

               B. The NRA’s claims for monetary relief are barred by state and federal
                  qualified immunity.
       The NRA’s assertion that qualified immunity cannot be resolved on a motion to dismiss,

NRA Mem. at 20, is legally unsound. First, qualified immunity is an immunity from suit, not just

from liability. As such, the question of whether the doctrine applies must be decided “at the earliest

possible stage in litigation.” Rubeor v. Town of Wright, 191 F. Supp.3d 198, 205 (N.D.N.Y. 2016)

(quoting Pearson v. Callahan, 55 U.S. 223, 231 (2009)). Second, the qualified immunity analysis

does not, as the NRA suggests, “require [a] detailed factual analysis that cannot be ascertained at

this stage.” NRA Mem. at 21. Qualified immunity applies where an official’s “conduct does not

violate clearly established statutory or constitutional rights of which a reasonable person would

have known.” Pearson, 555 U.S. at 231 (internal quotation omitted). That standard does not require

a factual inquiry and is easily met here. The NRA does not have a “clearly established” right to be

free from an enforcement action, particularly where a duly authorized investigation found credible

evidence of misconduct. In fact, that is precisely the type of conduct that is objectively reasonable.

The NRA’s conclusory assertion that it has a clearly established right to be free from selective

enforcement is also not sufficient. In Ashcroft v. al-Kidd, the Supreme Court held that restating a

general constitutional proposition “is of little help in determining whether the violative nature of

particular conduct is clearly established” for purposes of qualified immunity. 563 U.S. 731, 742

(2011). The inquiry is context-specific and asks if “[t]he contours of the right [are] sufficiently


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clear in the context of the alleged violation such that a reasonable official would understand that

what he is doing violates that right.” Salvador v. Lake George Park Comm'n, 2001 WL 1574929,

at *4 (N.D.N.Y. Mar. 28, 2001), aff'd 35 F. App'x 7 (2d Cir. 2002) (internal quotations and citations

omitted). For example, in Salvador, the court dismissed a selective enforcement claim on qualified

immunity grounds, despite allegations of defendant’s animus, holding that the defense “is based

on whether an official's acts were objectively reasonable. . . . Thus, the motivation of the individual

official is irrelevant to the determination of whether he is entitled to qualified immunity.” Id.

       Here, the NRA alleges selective enforcement of the dissolution claims only, not

challenging any of the other claims against it, which are based on some or all of the same facts.

Nor has it alleged that the claims against its current and former officers are meritless. There is no

clearly established right to be free from a particular remedy being sought in a regulatory

enforcement action, and the NRA cannot rely upon the alleged motivation of the Attorney General

to overcome her entitlement to qualified immunity on these facts.

                                          CONCLUSION

       For the foregoing reasons, Attorney General Letitia James respectfully requests that the

Court issue an order dismissing this action in its entirety and granting such other and further relief

as it deems just and proper.

Dated: January 4, 2021                         LETITIA JAMES
       New York, New York                      Attorney General

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